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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

ERIC GREENBERG                                    CIVIL ACTION


VERSUS                                            NO. 19-137


BOARD OF SUPERVISORS OF LOUISIANA                 SECTION: “I”(2)
UNIVERSITY and AGRICULTURAL AND
MECHANICAL COLLEGE

                         ORDER OF DISMISSAL

     The Court having been advised by counsel for the parties

that all of the parties to this action have firmly agreed upon a

compromise,

     IT IS ORDERED that the action be and it is hereby dismissed

without prejudice to the right, upon good cause shown, within a

reasonable time, to reopen the action or to seek summary

judgment enforcing the compromise if settlement is not

consummated.   The Court retains jurisdiction for all purposes,

including enforcing the settlement agreement entered into by the

parties.

     COUNSEL ARE REMINDED THAT, if witnesses have been

subpoenaed, EVERY WITNESS MUST be notified by counsel not to

appear.

     New Orleans, Louisiana, this 27th day of July, 2021.


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                                      LANCE M. AFRICK
                                      UNITED STATES DISTRICT JUDGE
